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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

NICOLE CHATMAN, FATIMA WALLS- )
BARBER, MOESHA WILLIAMS, and              )
AUSTIN KERR,                              )
                                          )
       Plaintiff,                         )
                                          )          Case No.: 4:19-CV-1181
v.                                        )
                                          )
UNITED STATES OF AMERICA,                 )
Serve: Jeffrey B. Jensen                  )
       U.S. Attorney for Eastern District )
       of Missouri                        )
       111 S. 10th Street, #20.333        )
       St. Louis, MO 63102                )
                                          )
       Defendant.                         )

                                          COMPLAINT

                                            COUNT I

       COMES NOW Plaintiff Nicole Chatman, and for Count I of her Complaint against

Defendant, states as follows:

       1.      This action arises under Title 28 United States Code, Section 2671 Et Seq. The

Court has jurisdiction under 28 USC Section 1346.

       2.      Venue is appropriate in this district because the events which give rise to this

complaint occurred within the district.

       3.      At all times of the events which give rise to this complaint, Plaintiff Nicole

Chatman was and is a citizen of the United States who resides in St. Louis, Missouri.

       4.      At all times of the events which give rise to this Complaint, the unknown postal

carrier who caused this accident was the agent and employee of the United States Postal Service,

which is an administrative agency of the United States of America.

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         5.    On or about August 26, 2017, Plaintiff Nicole Chatman was driving a 2004

Chevrolet Envoy, when she was hit in the rear and side by a United States Postal worker, who

then left the scene of the accident.

         6.    At the same date and time, the United States Postal Service was driving a U.S.

Postal truck and came into Plaintiff’s lane and hit her in the rear and side.

         7.    Plaintiff sustained injuries in the accident to her shoulders and back.

         8.    The unknown United States Postal worker was acting in an official capacity on

behalf of the United States Postal Service in the delivery of United States Mail at the time of the

crash.

         9.    Defendant, acting through its agent and employee, the unknown postal worker,

was negligent in one of more of the following respects:

               (a)     Failure to keep a careful lookout;
               (b)     Failure to maintain control of the vehicle;
               (c)     Failure to pay attention to the vehicles in the roadway in front of the Postal
                       vehicle;
               (d)     Failed to stop or swerve to avoid striking Plaintiff’s vehicle;
               (e)     Allowed the Postal vehicle to come into contact with the rear of Plaintiff’s
                       vehicle.

         10.   As a direct and proximate result of the carelessness and negligence of Defendant,

Plaintiff was injured and suffered damages, including injuries to Plaintiff’s shoulders and back.

         11.   As a direct and proximate result of the carelessness and negligence of Defendant,

Plaintiff has incurred reasonable and necessary medical expenses in the amount of $4,171.

         12.   Notice of a claim was properly submitted to the United States Postal Service on

March 29, 2018.

         13.   On December 6, 2018, Plaintiff’s claim was denied by the United States Postal

Service.



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       WHEREFORE, Plaintiff Nicole Chatman prays for judgment against Defendant United

States of America in the amount of $12,000, for costs, and for such other and further Relief as

the Court deems just and proper.

                                            COUNT II

       COMES NOW Fatima Walls-Barber, and for Count II of her Complaint against

Defendant, states as follows:

       1.       Plaintiff Fatima Walls-Barber realleges and incorporates herein by reference the

allegations of Count I.

       2.       At all times of the events which gave rise to this Complaint, Plaintiff Fatima

Walls-Barber was and is a citizen of the United States who resides in St. Louis, Missouri.

       3.       Plaintiff Fatima Walls-Barber was a passenger in the vehicle driven by Plaintiff

Nicole Chatman.

       4.       As a direct and proximate result of the carelessness and negligence of Defendant,

Plaintiff was injured and suffered damages, including injuries to Plaintiff’s left arm, wrist, hand,

and low back.

       5.       As a direct and proximate result of the negligence and carelessness of Defendant,

Plaintiff incurred reasonable and necessary medical expenses in the amount of $3,921.60.

       6.       As a direct and proximate result of the negligence and carelessness of Defendant,

Plaintiff incurred other economic and non-economic damages, including wage loss damages in

the sum of $2,080.

       7.       Notice of a claim was properly submitted to the United States Postal Service on

October 25, 2018.

       8.       On December 6, 2018, The United States Postal Service denied Plaintiff’s claim.



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        WHEREFORE, Plaintiff Fatima Walls-Barber prays for judgment against Defendant in

the amount of $16,500, for costs, and for such other and further relief as the Court deems just

and proper.

                                           COUNT III

        COMES NOW Plaintiff Moesha Williams, and for Count III of her Complaint against

Defendant, states as follows:

        1.     Plaintiff Moesha Williams, realleges and incorporates herein by reference the

allegations of Count I.

        2.     At all times of the events which give rise to this Complaint, Plaintiff Moesha

Williams was and is a citizen of the United States, who resides in St. Louis, Missouri.

        3.     Plaintiff Moesha Williams was a passenger in the vehicle driven by Plaintiff

Chatman.

        4.     As a direct and proximate result of the carelessness and negligence of Defendant,

Plaintiff was injured and suffered damages, including injuries to Plaintiff’s neck, shoulders, and

back.

        5.     As a direct and proximate result of the carelessness and negligence of Defendant,

Plaintiff incurred reasonable and necessary medical expenses in the amount of $2,553.62.

        6.     As a direct and proximate result of the negligence and carelessness of Defendant,

Plaintiff incurred lost wages.

        7.     Notice of a claim was properly submitted to the United States Postal Service on

October 25, 2018.

        8.     On December 6, 2018, The United States Postal Service denied Plaintiff’s claim.

        WHEREFORE, Plaintiff Moesha Williams prays for judgment against Defendant in the



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amount of $10,000, for costs, and for such other and further relief as the Court deems just and

proper.

                                             COUNT IV

          COMES NOW Plaintiff Austin Kerr, and for Count IV of his Complaint against

Defendant, states as follows:

          1.     Plaintiff Austin Kerr realleges and incorporates herein by reference, the

allegations of Count I.

          2.     At all times of the events which give rise to this Complaints, Plaintiff Austin Kerr

was and is a citizen of the United States who resides in St. Louis, Missouri.

          3.     Plaintiff Kerr was a passenger in the vehicle driven by Plaintiff Chatman.

          4.     As a direct and proximate result of the negligence and carelessness of Defendant,

Plaintiff was injured and suffered damages, including injuries to Plaintiff’s neck, back, left hip,

and left foot.

          5.     As a direct and proximate result of the negligence and carelessness of Defendant,

Plaintiff incurred reasonable and necessary medical expenses in the amount of $3,401.12.

          6.     Notice of a claim was properly submitted to the United States Postal Service on

October 25, 2018.

          7.     On December 6, 2018, The United States Postal Service denied Plaintiff’s claim.

          WHEREFORE, Plaintiff prays for judgment against Defendant in the amount of $7,500,

for costs, and for such other and further relief as the Court deems just and proper.




                                               Respectfully submitted,



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                                 SAUTER SULLIVAN LLC


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